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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


JEANNE PETTIS,                                 :
                                               :
               Plaintiff                       :       No. 1:24-cv-01437
       v.                                      :
                                               :       (Judge Kane)
GILLIGAN’S BAR & GRILL, INC.,                  :
          Defendant                            :

                                           ORDER


       AND NOW, on this 19th day of December 2024, IT IS ORDERED THAT a post-

mediation/case management telephone conference will be held on February 21, 2025, at 11:00

a.m. to discuss the status of this case. Plaintiff’s counsel shall initiate this conference call. If

settlement is reached through mediation, counsel shall notify the Court by telephone at (717)

221-3990.



                                                                s/ Yvette Kane
                                                               Yvette Kane, District Judge
                                                               United States District Court
                                                               Middle District of Pennsylvania
